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 7   Attorneys for Defendant: KEVIN EISERT
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 9
                        IN THE UNITED STATES DISTRICT COURT
10
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,                     )     Crim. S-05-201 GEB
13                                                 )
                                      Plaintiff,   )
14                                                 ) STIPULATION AND ORDER
                         v.                        )        THEREON
15                                                 )
     KEVIN EISERT,                                 )
16                                                 )
                                    Defendant,     )
17                                                 )
18
19
20                It is hereby stipulated between counsel for the government and the
21   defendant that the presently-scheduled date for voluntary surrender may be continued
22   from April 7, 2006 to April 14, 2006. This request is made to permit the Bureau of
23   /////
24   /////
25   /////
26   /////
27   /////
28   /////
        Case 2:05-cr-00201-GEB Document 58 Filed 04/06/06 Page 2 of 2


 1   Prison to reconsider defendant’s place of confinement. This re-designation is requested
 2   to permit a place of confinement closer to the defendant’s seriously ill daughter.
 3   Dated: April 5, 2006                                Dated: April 5, 2006
 4   /s/ Steven D. Bauer                                 /s/ Ellen V. Endrizzi
 5
     STEVEN D. BAUER                                     ELLEN V. ENDRIZZI
 6   Attorney at Law                                     Assistant United States Attorney
 7   For Good Cause Appearing:
     IT IS SO ORDERED
 8
 9   Dated: April 6, 2006
10
                                            /s/ Garland E. Burrell, Jr.
11                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
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